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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

ABU SAMURA,                         *
                                    *
             Plaintiff,             *
                                    *
v.                                  * Civil Case No.: 1:20-cv-02095-SAG
                                    *
SAVASENIORCARE ADMINISTRATIVE *
SERVICES, LLC, ET AL.,              *
                                    *
             Defendants.            *
____________________________________/

         DEFENDANTS’ MOTION TO DISMISS OR STAY THE CASE
   AND COMPEL ARBITRATION, AND FOR AN AWARD OF ATTORNEYS’ FEES

       Defendants, SavaSeniorCare Administrative Services, LLC and SSC Catonsville

Operating Company, LLC, by and through their attorneys, move the Court to dismiss or stay the

case and compel Plaintiff, Abu Samura, to submit his claims to arbitration pursuant to 9 U.S.C. §§

3 and 4. Defendants also move the Court for an award of attorneys’ fees as a sanction for Plaintiff’s

lack of justification for his refusal to arbitrate. As explained in the accompanying Memorandum

in Support, Plaintiff agreed to submit all claims related to his employment and termination from

employment to mutually binding arbitration and his Defendant employer did not reserve to itself

the right to revoke or modify the obligation in the arbitration agreement, and therefore, his refusal

to submit his claims to arbitration has no arguable basis in law.




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                                              Respectfully submitted,

                                                 /s/
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October 13, 2020                              Attorneys for Defendants


                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of Defendants’ Motion to

Dismiss or Stay the Case and Compel Arbitration, and for an Award of Attorneys’ Fees,

Memorandum and Exhibits in Support of Motion, and Proposed Order were electronically filed

and thereby served on October 13, 2020, to:


                             Jeanett P. Henry, Esquire
                             8403 Colesville Road, Suite 1100
                             Silver Spring, MD 20910
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                             Counsel for Plaintiff



                                                    /s/
                                                 Alexander I. Castelli


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